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                                   IN THE UNITED STATES BANKRUPTCY COURT FOR
                                            THE DISTRICT OF MARYLAND
                                                  Baltimore Division


       IN RE:                                                              *            Chapter 7
         DAMOND DURANT
         SHARAE DURANT                                                                  Case No.: 17-20232
              Debtors’                                                     *

       * *  *    *     *                                       *           *            *            *           *            *           *            *
       DAMOND DURANT, JR.
                                                                           *
            Plaintiff
                                                                           *            Adver No.: 17−00350
       Vs.
                                                                           *
       DAMOND T. DURANT, SR.

            Defendant                                                      *

       * *               *           *            *            *           *            *            *           *            *           *            *
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IN RE:                                 *      Chapter 7
  DAMOND DURANT
  SHARAE DURANT                               Case No.: 17-20232
       Debtors’                        *

* *  *    *     *               *      *      *      *      *       *      *      *
DAMOND DURANT, JR.
                                       *
  Plaintiff
                                       *      Adver No.: 17−00350
Vs.
                                       *
DAMOND T. DURANT, SR.

  Defendant                            *

* *   *   *    *    *    *    *    *    *   *    *   *
   MEMORANDUM IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT

  Damond Durant, Jr., (“Plaintiff” or “Damond”), by his undersigned counsel, hereby file

this Memorandum in Support of his Motion for Summary Judgment and states:

                          I.    PRELIMINARY STATEMENT

  On February 17, 2016, (the “Hearing Date”), The Honorable Judge Jeffrey M. Geller,

(“Judge Geller”) of the Circuit Court for Baltimore City, conducted an evidentiary hearing

to determine damages in the case of Damond Durant, Jr., vs. Damond Durant, Sr., Case

No. 24C15000246. The following facts were accepted by Judge Geller in support of his

February 17, 2016, Judgement against the Defendant. (See Exhibit A- Transcript of

Proceeding)

                    II.   STATEMENT OF UNDISPUTED FACTS




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  Plaintiff’s grandmother was Janice Denise Montgomery. Ms. Montgomery passed away

in 2007, when Damond was 14 years old. Ms. Montgomery’s Last Will and Testament,

among other things, bequeathed to Damond thirty percent (30%) of the Residuary Estate

(that is, the net estate after payment of funeral expenses, debts, expenses of administering

the estate, and other specific bequests). Ms. Montgomery’s Last Will and Testament further

provided that, because Damond was not 21 years of age when she passed, his share was to

be distributed pursuant to the Maryland Uniform Transfers to Minors Act to a custodian

selected in the sole and absolute discretion of Ms. Montgomery’s Personal Representative,

and that such custodian was to administer Damond’s inheritance in accordance with the

requirements of the Maryland Uniform Transfers to Minors Act until Damond attained the

age of 21.    Ms. Montgomery’s Personal Representative appointed Defendant, who is

Damond’s natural father and with whom Damond lived, to serve as the custodian of

Damond’s inheritance. Defendant accepted his appointment. On February 28, 2008, Ms.

Montgomery’s Personal Representative sent a check payable to Defendant “as custodian for

Damond T. Durant, Jr.” in the amount of $67,751.60, as an interim distribution from Ms.

Montgomery’s estate. Defendant accepted and deposited that check as Damond’s custodian.

On September 2, 2008, Ms. Montgomery’s Personal Representative sent a check payable to

Defendant “as custodian for Damond T. Durant, Jr.” in the amount of $8,053.23, as the final

distribution from Ms. Montgomery’s estate. Defendant accepted and deposited that check

as Damond’s custodian.

  Defendant did not administer Damond’s inheritance under the terms of the Maryland

Uniform Transfers to Minors Act. Instead, Defendant used Damond’s inheritance to fund

Defendant’s and his girlfriend’s lifestyle including, by way of example only, taking lavish

trips to Puerto Rico and the Bahamas. When Damond turned 21, his father — Defendant —


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informed Damond that he had spent Damond’s inheritance on himself and that Damond

should “do what [you] need[] to do.” Defendant’s actions have caused injury to Damond

including the loss of his inheritance, the inability to afford an apartment, the inability to

afford enrolling in college, and extreme emotional distress.

   Defendant’s actions, which amount to no less than criminal theft, were malicious,

deliberate, gross, and wanton conduct that demonstrates that Defendant was motivated by

evil motive, intent to injure, ill will, and fraudulent intent. defendant falsely asserted to

Damond and others that Defendant would accept Damond’s inheritance as Damond’s

custodian and administer the bequest in accordance with the Maryland Uniform Transfers to

Minors Act.

   At the time the Defendant made the misrepresentations that he would act in a custodial

capacity, he knew that those misrepresentations were false. Defendant had no intention of

caring for Damond’s property as his custodian. Defendant falsely represented that he would

act as Damond’s custodian, for the purpose of defrauding Damond.

   Damond justifiably relied on Defendant — his father — to act as custodian and safeguard

his inheritance. Instead, Defendant stole Damond’s inheritance and used it for his own

selfish purposes, causing Damond to suffer damages. Defendant’s actions were outrageous,

amounted to criminal theft, and were malicious, deliberate, gross, and wanton conduct that

demonstrates Defendant’s evil motive, intent to injure, ill will, and fraud. Defendant

accepted Damond’s bequest as Damond’s custodian and, with it, accepted certain fiduciary

duties. Among them were the duties to display complete loyalty to Damond’s interests and

the duty to exclude all selfish interest.

   Defendant violated his fiduciary duties to Damond by stealing Damond’s inheritance and

using it for his own selfish purposes. Defendant’s actions were outrageous, amounted to


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criminal theft, and were malicious, deliberate, gross, and wanton conduct that demonstrates

Defendant’s evil motive, intent to injure, ill will, and fraud. Defendant intentionally took

Damond’s personal property for his own use, forever depriving Damond of the use and

enjoyment of that property, without Damond’s permission or justification. That personal

property was comprised of specific segregated or identifiable funds, which are traceable.

Defendant’s actions were outrageous, amounted to criminal theft, and were malicious,

deliberate, gross, and wanton conduct that demonstrates Defendant’s evil motive, intent to

injure, ill will, and fraud. See Exhibits’ B and C

                    III.   JUDGE GELLER’S FINDINGS OF FACT

  The Court found that the Defendant failed to appear in the proceedings, having been fully

given notice of the hearing. (Trans. H-37 1:5)

  The Court found that Defendant had an obligation to protect the Plaintiff and that the

Defendant stole Plaintiff’s inheritance. The court also found Plaintiff story to be “Shocking”

and “Heartbreaking”. (Trans. H-37 6:15)

  The Court found that compensatory damages were appropriate and that the Plaintiff have

met his burden with respect to the underlying claims. (Trans. H-37 16:19)

  The Court entered judgment for compensatory damages in the amount of $75,804.83. The

Court further found that the monies that the Defendant was entrusted to hold for the Plaintiff

should have been available to Plaintiff when he was six (16) teen years old. (Trans. H-38

3:18)

  The Court found that Maryland Estates and Trust Article 13-214 applicable to the

Defendant’s fiduciary duty. The Court further found that the Maryland Uniform Transfer to

Minors Act (“UTMA”) was also applicable to Defendant. (Trans. H-38 19:25)




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  Having heard testimony from the Plaintiff, the Court also awarded Plaintiff non-

economic damages in the amount of $70,000.00. (Trans. H-39 7:12)

  The Court found that punitive damages were appropriate against the Defendant, because

the Defendant’s conduct was not only heartbreaking, it was reprehensible and disgusting

(Trans. H-39 13:18)

  The Court found that the Defendant made repeated false statements, knowing that the

statements were false. The Court also found that the Defendant had dissipated Plaintiff’s

inheritance for his own personal gain. The Court found by clear and convincing evidence,

that there was actual malice, that the Defendant knew what he was doing. The Court found it

especially troubling that the Defendant was a police officer. (Trans. H-39 19:25) (Trans.

H-40, 1)

  The Court found that the Defendant would have an ability to pay and that he should be

subject to a “substantial” punitive damage award to discourage the type of conduct and to

discourage the same conduct from others. (Trans. H-40 2:7)

  The Court found that treble punitive damages in the amount of $227,414.49, were

appropriate in light of the Defendant’s conduct. (Trans. H-40 8:15)

  The Court entered judgment accordingly for $75,804.83, in compensatory damages,

$70,000.00 in non-economic damages and punitive damages in the amount of $227,414.49.

The Court entered judgment for $373,219.32, plus $36,014.11 in-pre-judgement interest and

post judgment interest at the legal rate of 10%. (Trans. H-40 20:23) (Trans. H-41, 1:5)

and Exhibit D and F

                            IV.    STANDARD OF REVIEW

  Pursuant to Fed.R.Civ.P. 56(c), made applicable by Bankruptcy Rule 7056, summary

judgment is proper where “the pleadings, depositions, answers to interrogatories, and


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admissions on file, together with affidavits, if any, show that there is no genuine issue as to

any material fact and the moving party is entitled to judgment as a matter of law.”

Fed.R.Civ.P. 56(c). See Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 250, 106 S.Ct. 2505,

2511, 91 L.Ed.2d 202 (1986). In determining the facts for summary judgment purposes, the

court may rely on affidavits made with personal knowledge that set forth specific facts

otherwise admissible in evidence and sworn or certified copies of papers attached to such

affidavits. Fed.R.Civ.P. 56(e), made applicable by Bankr.Rule 7056. When a motion for

summary judgment is made and supported by affidavits or other evidence, “an adverse party

may not rest upon mere allegations or denials ...” Id. While the court must construe all

inferences in favor of the non-moving party, Anderson v. Liberty Lobby, Inc.,477 U.S. at

255, 106 S.Ct. at 2513-14, the court is bound by factual determinations made in prior

actions where collateral estoppel applies. Allen v. McCurry, 449 U.S. 90, 94-95, 101 S.Ct.

411, 414-15, 66 L.Ed.2d 308 (1980).

                                     V.    ARGUMENT

      a) The issues in this case have already been decided and this court should issue
         judgment accordingly.

  Principles of collateral estoppel are applicable in dischargeability proceedings in

bankruptcy. Grogan v. Garner, 498 U.S. 279, 284 & n. 11 (1991). “In determining the

preclusive effect of a state-court judgment, the federal courts must, as a matter of full faith

and credit, apply the forum state's law of collateral estoppel.” In re McNallen, 62 F.3d 619,

624 (4th Cir. 1995). It is without dispute that Judge Geller made findings with respect to the

Defendant’s conduct in handling the Plaintiff’s inheritance. Those findings must be

provided preclusive effect in these proceedings. The 4th Circuit has also held that the

determination of whether or not a state court default judgment is entitled to preclusive effect

is based on the law of the state. See Sartin v. Macek, 535 F. 3d 284 (4th Cir. 2008) (finding

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that When a creditor has reduced a claim to judgment in a state court prior to bankruptcy,

the bankruptcy court generally “must give the same preclusive effect to [the] state court

judgment as the forum that rendered the judgment would have given it). The Court of

Appeals of Maryland in Porter Hayden Co. v. Bullinger, 350 Md. 452 (1998), found that a

default judgment can and is given preclusive effect.

  As evident in the transcript of the lower court proceedings, Judge Geller acted as the trier

of fact, as to the compensatory, economic and punitive damage awards.


       b) The Circuit Court Judgment is non-dischargeable in its entirety.

  Under § 523(a)(4) of the Bankruptcy Code, a discharge granted to an individual Chapter

7 debtor does not discharge a debt for fraud or defalcation while acting as a fiduciary.

Recently in Fleming v. Gordon (In re Gordon), 491 B.R. 691 (Bankr. D. Md. 2013), Judge

Keir explained that a creditor asserting such a nondischargeability claim must prove: “(1)

the establishment of an express trust regarding the funds; (2) that the debtor acted in a

fiduciary capacity; and (3) the debt is based upon the debtor’s fraud or defalcation while

acting as a fiduciary.” Id. at 697 (citing Pahlavi, 113 F.3d at 20).

  It is well settled that for purposes of § 523(a)(4), the term “fraud” means “positive fraud,

or fraud in fact, involving moral turpitude or intentional wrong.” Neal v. Clark, 95 U.S. 704,

709 (1877). Likewise, it is now also well settled that in the context of this statute that the

term “defalcation” requires a finding of at least “an intentional wrong” or in the absence of

intentional wrongdoing, a finding that “the fiduciary ‘consciously disregards’ (or is willfully

blind to) ‘a substantial and unjustifiable risk’ that his conduct will turn out to violate a

fiduciary duty.”

  i.   The Estate of Janice Montgomery Created a Trust for the Plaintiff



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  The Default Judgment established that a trust for Plaintiff had been created by the Estate

of Janice Montgomery. See Exhibit B. See also (Trans. H-7 19:21). Plaintiff has met his

burden under the first prong of the Fleming test.

 ii.    Judge Geller found that Defendant had Fiduciary Duty to Plaintiff

  Judge Geller found that the Defendant was acting in a fiduciary capacity pursuant to

Maryland Estates and Trust Article §13–214 and the Maryland Uniform Transfer to Minors

Act, when he illegally converted funds entrusted to him on behalf of the Plaintiff to his own

personal benefit.

  Md. Estate Article §13–214, defines duties of a guardian:

  (a)    A guardian may distribute or disburse property without court authorization or

confirmation in accordance with this section.

  (b)    (1) A guardian of a minor may pay or apply income and principal from the estate

as needed for the clothing, support, care, protection, welfare, and education of the minor.

  (2)   A guardian of a disabled person may pay or apply income and principal from the

estate as needed for the clothing, support, care, protection, welfare, and rehabilitation of the

disabled person. He shall give consideration to the support and care of the disabled person

during the probable period of the estate and the needs of persons dependent upon the

disabled person.

  (3) Income and principal also may be paid or applied for the benefit of persons legally

dependent upon the minor or disabled person and, with the approval of the court, for the

benefit of other persons maintained and supported in whole or in part by the disabled person

prior to the appointment of a guardian.




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  (c) (1) When a minor attains his majority, his guardian, after meeting all prior claims

and expenses of administration, shall distribute the estate to the former minor as soon as

possible, unless the minor is then disabled. The distribution normally shall be in kind.

  (2) If the guardian is satisfied that the disability of the disabled person has ceased or if

the court has found in a proceeding under § 13–221 of this subtitle that the disability has

ceased, the guardian, after meeting all prior claims and expenses of administration, shall

distribute the estate to the former disabled person as soon as possible. The distribution

normally shall be in kind.

  (3) When a minor or disabled person dies, the guardian shall deliver to the appropriate

probate court for safekeeping any will of the deceased person in his possession, pay from

the estate all commissions, fees, and expenses shown on the court–approved final

guardianship account, inform the personal representative or a beneficiary named in it that he

has done so, and retain the balance of the estate for delivery to an appointed personal

representative of the decedent or other person entitled to it.

  (4)    If a guardianship is terminated for reasons other than the attainment of majority,

cessation of disability, or death of the protected person, the guardian shall distribute the

estate in accordance with the order of the court terminating the guardianship.

   Md. Estate Article §13–216(a), addresses abuse of powers of a guardian and states that:

  (a) If the exercise of a power is improper, the guardian is liable for breach of his

fiduciary duty to the minor or disabled person or to interested persons for resulting

damage or loss to the same extent as a trustee of an express trust.

  Maryland Uniform Transfer to Minors Act, codified as Estates and Trusts Title § 13-312,

describes the duties and powers of custodians as:

          (a) Control and management.- A custodian shall:


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                 (1) Take control of custodial property;

                 (2) Register or record title to custodial property if appropriate; and

                 (3) Collect, hold, manage, invest, and reinvest custodial property.

                 (b) Standard of care.-

                 (1) Except as provided in paragraph (2) of this subsection, in dealing with

custodial property:

                 (i) A custodian shall observe the standard of care that would be observed by a

prudent person dealing with property of another and is not limited by any other statute restricting

investments by fiduciaries;

                 (2) A fiduciary subject to § 15-114 of this article shall comply with that section in

dealing with custodial property.

       It is therefore without question that the Defendant was acting as a fiduciary for Plaintiff,

    thus has met his burden under the second prong in Fleming.


     iii.   The Plaintiff suffered a loss as a result of Defendant’s Breach of Fiduciary

Judge Geller found that Plaintiff suffered emotional and actual loss. The Court awarded $70,000

to address the non-economic damages of emotional distress. (Trans. H-8 13:14, 20:24); (Trans.

H-30 1:5); (Trans. H-38 5:18). Plaintiff also suffered the loss of his inheritance, because the

Defendant converted the funds to his own personal use. Plaintiff has met the third prong in

Fleming.

                                          VI.     CONCLUSION

       Plaintiff has demonstrated that he is entitled to judgment as a matter of law on his claims

against the Defendant and respectfully request that this Court find the judgment non-

dischargeable.



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                       Respectfully Submitted,

                       /s/ Kim Parker
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